                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 CATHERINE S. DEBAKKER,                             )
                                                    )
               Plaintiff,                           )
                                                    )
 v.                                                 )       No.:   3:08-CV-11
                                                    )              (VARLAN/SHIRLEY)
 HANGER PROSTHETICS & ORTHOTICS                     )
 EAST, INC. and MARK G. TURNER,                     )
                                                    )
               Defendants.                          )


                        MEMORANDUM OPINION AND ORDER

        This civil action is before the Court on plaintiff Catherine S. DeBakker’s Motion for

 Sanctions for Spoliation of Evidence [Doc. 48]. Defendants filed a response [Doc. 56] and

 plaintiff has filed a reply [Doc. 63]. The motion is ripe for the Court’s consideration.

 I.     Background

        Plaintiff filed a Complaint [Doc. 1-1] against defendants in the Circuit Court for

 Anderson County, Tennessee on November 14, 2007. The case was removed to this Court

 on January 14, 2008 [Doc. 1]. Pursuant to this Court’s orders [Doc. 23, 60], plaintiff filed

 an Amended Complaint [Doc. 25] and a Second Amended Complaint [Doc. 67]. In her

 second amended complaint, plaintiff alleges that defendant Hanger, together with its

 employee, defendant Mark G. Turner, designed, manufactured, fitted, and sold to plaintiff

 a brace for her left leg [Id., ¶ 4]. She further alleges that she experienced problems with that

 leg brace [Id., ¶ 5] and that, after making modifications to that leg brace, defendants agreed

 to provide plaintiff with a new leg brace (the “subject brace”) [Id.]. Plaintiff further alleges


Case 3:08-cv-00011-TAV-CCS          Document 116        Filed 12/14/09    Page 1 of 9     PageID
                                          #: 1359
 that she received the subject brace in 2006, and there were problems with the knee locks [Id.,

 ¶ 6]. Plaintiff alleges that defendant Hanger, together with defendant Turner, made some

 additional modifications to that leg brace as well, and then returned it to her [Id.]. Plaintiff

 finally alleges that, on or about June 24, 2007, the subject brace failed, causing her to fall and

 sustain permanent injuries, including but not limited to a broken leg between the ankle and

 knee of her left leg [Id.].

        Plaintiff filed a motion for sanctions [Doc. 48]. Defendants responded in opposition

 [Doc. 56] and plaintiff filed a reply [Doc. 63]. Defendants filed a supplement to their

 response [Doc. 98] and plaintiff filed a response [Doc. 103].

        In the motion for sanctions, plaintiff alleges that the subject brace was delivered to her

 with cam lock joints on or around November 15, 2006 [Doc. 48]. She alleges further that a

 decision was made to replace the cam lock joints with drop lock joints a few weeks after

 delivery of the subject brace [Id.]. The drop lock joints were made of a lighter metal than the

 cam lock joints [Id.]. Although plaintiff visited defendant Hanger’s treatment facility on at

 least two occasions after November 15, 2006, defendants have been unable to locate any

 records, other than sign-in sheets, made in connection with these visits [Doc. 56]. These

 records would allegedly show why certain adjustments were made to the subject brace on

 these occasions [Doc. 63].

        The Court has carefully considered the pending motion, response, reply, and

 supplements in light of the applicable law. For the reasons set forth herein, plaintiff’s motion

 will be denied.

                                                 2


Case 3:08-cv-00011-TAV-CCS           Document 116       Filed 12/14/09      Page 2 of 9     PageID
                                           #: 1360
 II.    Analysis

        Plaintiff makes three requests in her motion for sanctions, based upon her claim of

 spoliation in connection with the missing office notes from November 2006. First, she

 requests that the Court enter default judgment in her favor on the issue of liability [Doc. 48].

 In the alternative, plaintiff requests this Court create a “rebuttable presumption that the

 design and/or modifications to the subject knee brace that occurred after November 15, 2006

 were defective and/or unreasonably dangerous,” and “were the cause of [plaintiff’s] fall and

 resultant injuries” [Id.]. As a second alternative, plaintiff requests that the Court “instruct

 the jury in this case that it can conclude that the missing evidence, i.e., the records after

 November 15, 2006, would be adverse to Hanger and [d]efendant Turner” [Id.].

        The Court has considered requests for sanctions against alleged spoliators before. In

 Smith v. USF Holland, Inc., No. 3:07-CV-150, 2009 WL 2170136, at *6 (E.D. Tenn. July 20,

 2009) (quoting Bancorpsouth Bank v. Herter, No. 04-2420 B, 2009 WL 1596654, at *15

 (W.D. Tenn. June 5, 2009)), the Court noted that “at least two district courts in this circuit

 have held that ‘a party seeking an adverse inference’” based on the spoliation of evidence

 must satisfy three criteria. First, the party seeking the adverse inference must establish “that

 the party having control over the evidence had an obligation to preserve it at the time it was

 destroyed.” Id. Second, the party seeking the adverse inference must establish “that the

 records were destroyed with a culpable state of mind.” Id. Third, and finally, the party

 seeking the adverse inference must establish “that the destroyed evidence was relevant to the

 party’s claim or defense such that a reasonable trier of fact could find that it would support

                                                3


Case 3:08-cv-00011-TAV-CCS          Document 116       Filed 12/14/09     Page 3 of 9     PageID
                                          #: 1361
 that claim or defense.” Id. The trial court is “not required to grant a request for an adverse

 inference even if all the elements entitling a party to [an] adverse inference have been met.”

 Smith, 2009 WL 2170136, at *6.

        The Court examines each of these factors below in turn. Before examining these

 factors, however, the Court must first answer a threshold question: whether any evidence that

 could have been spoliated actually existed.

        A.     Existence of Evidence

        In order for evidence to be spoliated, that evidence must first exist. Defendant Hanger

 admits that plaintiff signed in to defendant Hanger’s Oak Ridge office on November 21, 2006

 and November 25, 2006 [Doc. 56]. Defendant Hanger maintains, however, that no additional

 records made in connection with these visits can be located [Id.]. As evidence that additional

 records were generated in connection with these visits, plaintiff points first to the deposition

 testimony of defendant Turner, the relevant portions of which are reproduced below:

        Dana Pemberton: Where are the notes, the Progress Notes, after 11/15/06?
        Mark G. Turner: I have not seen them.
        Q:    Where are they?
        A:    I don’t know.
        Q:    You don’t know?
        A:    No, ma’am.
        Q:    Are there some in existence?
        A:    I don’t know. I don’t recall.
        Q:    But if you made adjustments to a brace, are you required to make
              Progress Notes about it?
        A:    Yes.
        Q:    Do you think you would have made Progress Notes about it?
        A:    Yes.



                                                4


Case 3:08-cv-00011-TAV-CCS          Document 116       Filed 12/14/09     Page 4 of 9     PageID
                                          #: 1362
 [Doc. 48-1]. Plaintiff also points to the deposition testimony of Ms. Kaia Busch, the Rule

 30(b)(6) representative. The relevant portions of that testimony are reproduced below:

        Dana Pemberton: [T]he chart notes from Oak Ridge, do you have any
        knowledge or any idea where, if they exist, the rest of the chart notes would
        be?
        Kaia Busch: I have no idea where the rest of the chart notes would be.
        Q:    Does Hanger have a policy or a procedure, a written policy or
              procedure, pertaining to chart notes or patient files and things like that?
        A:    Yes, they do.
        Q:    I don’t expect you to have it committed to memory, but can you tell me
              generally what it says?
        A:    Generally it says that each time a patient is seen that you document the
              status of the patient, the status of the device, the pathology, if there’s
              been any change in patient history, patient presentation, procedural-
              clinical procedures that we would be initiating or that have been
              prescribed, any variations to that.

  [Doc. 63-2]. Relevant testimony follows later in the same deposition:

        Dana Pemberton: The policy says accurate and complete clinical
        documentation shall be kept for every Hanger patient following the procedures
        below, correct?
        Kaia Busch: Yes.
        Q:    All right. And I’m not going to bore you by going through reading all
              the policies and procedures, but let’s flip over to page two. I’m sure
              that this has been discussed, but it says a good legal assumption to
              make is the following. If it is not in the record, it did not happen.
              Correct?
        A:    Correct.
        Q:    And there’s a bunch of stuff, to be fair–
        A:    Yes.
        Q:    –that’s not in this record?
        A:    Yes.

 [Id.]. The “policy” that Ms. Pemberton and Ms. Busch discuss is Hanger’s Standard

 Operating Procedures on Clinical Documentation, which provide that “[a]ccurate and

 complete clinical documentation shall be kept for every Hanger patient . . . .” [Doc. 63-5].

                                               5


Case 3:08-cv-00011-TAV-CCS         Document 116        Filed 12/14/09     Page 5 of 9       PageID
                                         #: 1363
        The evidence that plaintiff alleges was spoliated consists of notes taken in connection

 with her visits to defendant Hanger’s facility on November 21, 2006 and November 25, 2006.

 Plaintiff presumes that such notes exist based largely upon a stated policy requiring that such

 notes be kept, and upon defendant Turner’s admission that he would have made notes on

 these occasions. While these arguments do not conclusively prove that such notes do or did

 exist, the Court nevertheless assumes for the purposes of argument that they do exist or did

 exist at one time.

        B.     Control and Duty to Preserve

        To obtain an adverse inference as a result of spoliation, the party seeking the adverse

 inference must establish “that the party having control over the evidence had an obligation

 to preserve it at the time it was destroyed.” Smith, 2009 WL 2170136, at *6 (quoting

 Bancorpsouth Bank, 2009 WL 1596654, at *15). The Court considers the issues of control

 and the duty to preserve separately below.

        1.     Control

        Plaintiff argues that defendants had “exclusive control” over the documentation at

 issue [Doc. 63] and bases this argument primarily on the fact that defendant Hanger’s

 standard operating procedures require that “such documentation shall be kept” [Id.].

 Defendants argue in response that defendant Turner, “in his duties as an orthotist, did not at

 any time have access to Hanger[’s] . . . computer to change any records pertaining to Ms.

 DeBakker’s file” [Doc. 56]. They argue further that defendant Turner “transferred to

 California effective May 31, 2007 [Id.].

                                               6


Case 3:08-cv-00011-TAV-CCS         Document 116        Filed 12/14/09    Page 6 of 9     PageID
                                         #: 1364
        The evidence suggests that defendant Hanger, and not defendant Turner, ultimately

 exercised “control” over the notes at issue. As the treating facility and repository of patient

 records, defendant Hanger must bear responsibility for maintaining those records. And

 defendant Hanger’s document retention policy confirms their role as the party primarily

 responsible for maintaining those records. Plaintiff can thus satisfy the “control” element

 with respect to defendant Hanger, but not with respect to defendant Turner.

        2.      Duty to Preserve

        The Court next considers whether the defendants had a duty to preserve the patient

 records in this case. A party to civil litigation “has a duty to preserve relevant information

 . . . when that party ‘has notice that the evidence is relevant to litigation or . . . should have

 known that the evidence may be relevant to future litigation.’” John B. v. Goetz, 531 F.3d

 448, 459 (6th Cir. 2008) (quoting Fujitsu Ltd. v. Fed. Express Corp., 247 F.3d 423, 436 (2d

 Cir. 2001)).

        Plaintiff relies almost exclusively on defendant Hanger’s document retention policy

 in arguing that it effectively put defendant Hanger’s employees on notice that all

 documentation created by its employees would be considered “relevant to litigation” [Doc.

 63]. Plaintiff points in particular to the policy’s admonitions that progress notes “stand[] as

 the main support in cases of litigation” and “can often times keep the legal process from

 proceeding further,” and that “any written record [an employee] make[s] in the patient’s chart

 may be the central evidence in a court of law” [Doc. 63-5]. Defendants argue in response

 that they were not put on notice of the present litigation until December 14, 2007, when they

                                                 7


Case 3:08-cv-00011-TAV-CCS           Document 116       Filed 12/14/09      Page 7 of 9     PageID
                                           #: 1365
 were served with a summons in the case [Doc. 56] and had no obligation to preserve records

 relevant to the case before that date.

        Plaintiff offers no evidence that defendants either knew or should have known that the

 progress notes would be relevant to this litigation prior to service of the summons on

 December 14, 2007 and therefore failed to demonstrate that defendants had any duty to

 preserve the progress notes before that date.1 See Forest Labs., Inc. v. Caraco Pharm. Labs.,

 Ltd., No. 06-CV-13143, 2009 WL 998402, at *2 (E.D. Tenn. Mich. Apr. 14, 2009) (quoting

 Clark Constr. Group, Inc. v. City of Memphis, 229 F.R.D. 131, 136 (W.D. Tenn. 2006))

 (“Any destruction of potentially relevant evidence that occurs before [the duty arises] would

 be harmless, since the party was unaware of a need to safeguard the evidence.”). Contrary

 to plaintiff’s assertions, the mere existence of a document retention policy does not give rise

 to a duty to preserve every document generated under that policy. The duty to preserve arises

 only when a party becomes “reasonably aware of the possibility of litigation.” See Goetz,

 531 F.3d at 458 (citing Zubulake v. UBS Warburg, LLC, 220 F.R.D. 212, 217 (S.D.N.Y.

 2003)) (“The duty to preserve attach[es] at the time that litigation was reasonably

 anticipated.”).




        1
          Plaintiff makes only the conclusory argument that the defendants “either destroyed or lost
 [the records at issue] when they knew or should have known that the records would be the subject
 of possible legal proceedings” [Doc. 48]. Defendants address the timing issue with more specificity,
 proposing that “any records missing from Ms. DeBakker’s file most likely were misplaced in
 another patient’s chart at the time the records were created and filed” [Doc. 56]. For the reasons
 discussed infra, defendants had no duty to preserve these records at the time the records were
 created and filed.

                                                  8


Case 3:08-cv-00011-TAV-CCS           Document 116        Filed 12/14/09      Page 8 of 9      PageID
                                           #: 1366
          Because plaintiff cannot demonstrate that defendant Turner exercised “control” over

 the progress notes, and because she cannot demonstrate that either defendant had a duty to

 preserve these notes, the Court need not consider the remaining elements of her spoliation

 claim.

  III.    Conclusion

          For the reasons stated herein, plaintiff’s Motion for Sanctions for Spoliation of

  Evidence [Doc. 48] is hereby DENIED.

          IT IS SO ORDERED.



                                             s/ Thomas A. Varlan
                                             UNITED STATES DISTRICT JUDGE




                                               9


Case 3:08-cv-00011-TAV-CCS          Document 116      Filed 12/14/09    Page 9 of 9    PageID
                                          #: 1367
